       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 1 of 30



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 9                                UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

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12   COLE COLEMAN, BRUCE COLETTA,                    Case No.: 3:20-cv-01663
     DAVID DIORIO, ROBERT JACOBSON-
13   DUTEIL, BRIANNA LEE, CRISTIN                    CLASS ACTION
     TROSIEN, and MICHELE WILLIAMS,
14
     individually, and on behalf of all others
15   similarly situated,
                                                     CLASS ACTION COMPLAINT
16                  Plaintiff,
17           v.                                      DEMAND FOR JURY TRIAL
     TOYOTA MOTOR SALES, U.S.A., INC.,
18
     a Texas corporation; and TOYOTA
19   MOTOR NORTH AMERICA, INC., a
     Texas corporation,
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                    Defendants.
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       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 2 of 30



 1          Plaintiffs Cole Coleman, Bruce Coletta, David DiOrio, Robert Jacobson-Duteil, Brianna

 2   Lee, Cristin Trosien, and Michele Williams (“Plaintiffs”), individually and on behalf of all

 3   others similarly situated, bring this class action against Toyota Motor Sales, U.S.A., Inc. and

 4   Toyota Motor North America, Inc. (collectively, “Toyota” or “Defendants”), and allege as

 5   follows based on investigation of counsel and information and belief:

 6                                      NATURE OF THE CASE

 7          1.      Toyota manufactures a vehicle called the RAV4 Hybrid (the “RAV4”). 2019 and

 8   2020 model year RAV4 Hybrids (the “Class Vehicles”) are equipped with a defective fuel tank

 9   system. In the standard promotional and marketing materials that it distributes in California and

10   throughout the United States, Toyota advertises the fuel tank as having a capacity of 14.5

11   gallons. But the fuel tank on each Class Vehicle cannot be safely filled with more than nine to

12   ten gallons, even when the fuel light indicates that the tank is not full. This is due to a fuel tank

13   system defect. The shape of the tank causes the fuel pump to shut off before reaching a full 14.5

14   gallons.

15          2.      The defect severely diminishes the total driving distance of the Class Vehicles.

16   Toyota advertises that the RAV4 can travel 580 miles on a single “full” tank and specifically

17   tells customers in national advertising campaigns that they will need fewer trips to the gas pump.

18   Toyota also advertises that the RAV4 travels an estimated 41 miles per gallon when driving in

19   city conditions, 38 miles per gallon on the highway, and 40 miles per gallon combined. In reality,

20   because the defect prevents drivers from safely filling the tank with more than ten gallons of

21   fuel, drivers can only travel about 400 miles on a “full” tank, leaving consumers without the

22   promised benefits of Toyota’s best-selling hybrid. The smaller tank size also necessarily requires

23   more stops and starts, affecting mileage and materially limiting driving range.

24          3.      Each Class Vehicle has been designed, manufactured, distributed, sold, and

25   leased by Defendants, and each Class Vehicle’s fuel tank system is defective. Toyota has known

26   or should have known of this defect due to numerous complaints by consumers, pre-release

27   testing, as well as feedback from dealerships. Toyota, however, does not inform purchasers

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 3 of 30



 1   about the fuel tank system defect, and it continues to conceal material facts while its efforts to

 2   advertise, market, and sell the RAV4 in California and throughout the United States remain

 3   ongoing. Without the superior knowledge Toyota possesses about the defect, unsuspecting

 4   consumers continue to purchase the RAV4, expecting to be able to fill their vehicles with 14.5

 5   gallons of fuel and to travel the mileage range Toyota advertises. Defendants’ representations

 6   have induced Plaintiffs, and continue to induce Class members, to purchase and lease vehicles

 7   that do not perform as promised.

 8          4.      To date, Toyota has not offered a repair or replacement option that cures the fuel

 9   tank system defect. Had Defendants disclosed the defective nature of the RAV4 to Plaintiffs,

10   they would not have purchased it or would have paid substantially less for one.

11          5.      Plaintiffs therefore bring this action, individually, and on behalf of all similarly

12   situated owners and lessees of 2019 and 2020 Toyota RAV4 Hybrids. Plaintiffs seek damages

13   and injunctive relief for Defendants’ violations of California consumer protection statutes and

14   for fraudulent concealment.

15                                              PARTIES

16          A.      Plaintiffs

17          6.      Plaintiff Cole Coleman is a citizen and resident of Missouri. He purchased a new

18   2019 RAV4 Hybrid on September 2, 2019 from Bommarito Toyota in Hazelwood, Missouri,

19   for approximately $31,889 (less a $900 rebate). Mr. Coleman purchased the RAV4 primarily

20   for personal, family, or household use and has used the vehicle for regular everyday activities.

21   Before purchasing his RAV4, Mr. Coleman saw Toyota’s standard advertisements and

22   marketing materials, including content on Toyota’s website, in promotional brochures, and on

23   vehicle Monroney stickers, about the RAV4’s fuel tank capacity, fuel economy, and total driving

24   distance. Based on Toyota’s reported 14.5-gallon fuel tank capacity and estimated mileage of

25   forty miles per gallon, Mr. Coleman believed that his RAV4 could travel over five hundred miles

26   on one full tank of gas. Since purchasing the RAV4, however, he has never been able to fill the

27   gas tank to the advertised 14.5-gallon capacity. At most, the tank will take about eight to ten

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                                        CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 4 of 30



 1   gallons, even when the fuel light indicates that the tank is not full. Anything more than that

 2   amount causes the tank to overflow. After repeated failed attempts to fill the gas tank to capacity,

 3   Mr. Coleman contacted a local Toyota dealership only to be told there is nothing they can do

 4   until Toyota releases a solution. The defective fuel tank remains installed on his RAV4, and

 5   Toyota has not offered a repair or replacement that eliminates the problems with the fuel tank

 6   system. As a result, Mr. Coleman must refuel more frequently than he would have to if the fuel

 7   tank system were defect-free, and the vehicle has never achieved the mileage range Toyota

 8   represented. At the time of purchase, Mr. Coleman was unaware of the defective nature of the

 9   RAV4’s fuel tank system. Had Toyota disclosed the defect, Mr. Coleman would not have

10   purchased a RAV4 or would have paid substantially less for it.

11          7.      Plaintiff Bruce Coletta is a citizen and resident of New Jersey. He purchased a

12   new 2019 RAV4 Hybrid on October 3, 2019 from Dayton Toyota in Dayton, New Jersey, for

13   $31,793.49. Mr. Coletta purchased the RAV4 primarily for personal, family, or household use

14   and has used the vehicle for regular everyday activities. Before purchasing his RAV4, Mr.

15   Coletta saw Toyota standard advertisements and marketing materials, including content on

16   Toyota’s website, in promotional brochures, and on vehicle Monroney stickers, about the

17   RAV4’s fuel tank capacity, fuel economy, and total driving distance. Based on Toyota’s reported

18   14.5-gallon fuel tank capacity and estimated mileage of forty miles per gallon, Mr. Coletta

19   believed that his RAV4 could travel over five hundred miles on one full tank of gas. Since

20   purchasing the RAV4, however, he has never been able to fill the gas tank to the advertised 14.5-

21   gallon capacity, even when the fuel light indicates that the tank is not full. The tank will take no

22   more than ten gallons. Anything more than that amount causes the tank to overflow. After

23   repeated failed attempts to fill the gas tank to capacity, Mr. Coletta visited a local Toyota

24   dealership. The dealership installed a replacement tank, but the replacement tank has the same

25   defect. Toyota has not offered a repair or replacement that eliminates the problems with the fuel

26   tank system. As a result, Mr. Coletta must refuel more frequently than he would have to if the

27   fuel tank system were defect-free, and the vehicle has never achieved the mileage range Toyota

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                                         CLASS ACTION COMPLAINT
        Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 5 of 30



 1   represented. At the time of purchase, Mr. Coletta was unaware of the defective nature of the

 2   RAV4’s fuel tank system. Had Toyota disclosed the defect, Mr. Coletta would not have

 3   purchased a RAV4 or would have paid substantially less for it.

 4           8.      Plaintiff David DiOrio is a citizen and resident of Connecticut. He purchased a

 5   new 2019 RAV4 Hybrid on July 31, 2019 from Girard Toyota in New London, Connecticut, for

 6   approximately $39,000. Mr. DiOrio purchased the RAV4 primarily for personal, family, or

 7   household use and has used the vehicle for regular everyday activities. Before purchasing his

 8   RAV4, Mr. DiOrio saw Toyota standard advertisements and marketing materials, including

 9   content on Toyota’s website, in promotional brochures, and on vehicle Monroney stickers, about

10   the RAV4’s fuel tank capacity, fuel economy, and total driving distance. Based on Toyota’s

11   reported 14.5-gallon fuel tank capacity and estimated mileage of forty miles per gallon, Mr.

12   DiOrio believed that his RAV4 could travel over five hundred miles on one full tank of gas.

13   Since purchasing the RAV4, however, he has never been able to fill the gas tank to the advertised

14   14.5-gallon capacity, even when the fuel light indicates that the tank is not full. At most, the

15   tank will take seven to eight gallons. Anything more than that amount causes the tank to

16   overflow. Mr. DiOrio has experienced repeated failed attempts to fill the gas tank to capacity.

17   The defective fuel tank remains installed on his RAV4, and Toyota has not offered a repair or

18   replacement that eliminates the problems with the fuel tank system. As a result, Mr. DiOrio must

19   refuel more frequently than he would have to if the fuel tank system were defect-free, and the

20   vehicle has never achieved the mileage range Toyota represented. At the time of purchase, Mr.

21   DiOrio was unaware of the defective nature of the RAV4’s fuel tank system. Had Toyota

22   disclosed the defect, Mr. DiOrio would not have purchased a RAV4 or would have paid

23   substantially less for it.

24           9.      Plaintiff Robert Jacobson-Duteil is a citizen and resident of Arizona. He

25   purchased a new 2020 RAV4 Hybrid on February 9, 2020 from Big Two Toyota in Chandler,

26   Arizona, for approximately $31,000. Mr. Jacobson-Duteil purchased the RAV4 primarily for

27   personal, family, or household use and has used the vehicle for regular everyday activities.

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                                        CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 6 of 30



 1   Before purchasing his RAV4, Mr. Jacobson-Duteil saw standard Toyota advertisements and

 2   marketing materials, including content on Toyota’s website, in promotional brochures, and on

 3   vehicle Monroney stickers, about the RAV4’s fuel tank capacity, fuel economy, and total driving

 4   distance. Based on Toyota’s reported 14.5-gallon fuel tank capacity and estimated mileage of

 5   forty miles per gallon, Mr. Jacobson-Duteil believed that his RAV4 could travel over five

 6   hundred miles on one full tank of gas. Since purchasing the RAV4, however, he has never been

 7   able to fill the gas tank to the advertised 14.5-gallon capacity, even when the fuel light indicates

 8   that the tank is not full. At most, the tank will take ten to eleven gallons. Anything more than

 9   that amount causes the tank to overflow. After repeated failed attempts to fill the gas tank to

10   capacity, Mr. Jacobson-Duteil visited a local Toyota dealership, but the dealership offered no

11   solution. The defective fuel tank remains installed on his RAV4, and Toyota has not offered a

12   repair or replacement that eliminates the problems with the fuel tank system. As a result, Mr.

13   Jacobson-Duteil must refuel more frequently than he would have to if the fuel tank system were

14   defect-free, and the vehicle has never achieved the mileage range Toyota represented. At the

15   time of purchase, Mr. Jacobson-Duteil was unaware of the defective nature of the RAV4’s fuel

16   tank system. Had Toyota disclosed the defect, Mr. Jacobson-Duteil would not have purchased a

17   RAV4 or would have paid substantially less for it.

18          10.     Plaintiff Brianna Lee is a citizen and resident of California. She purchased a new

19   2019 RAV4 Hybrid on May 3, 2019 in Dublin, California, for $35,524. She purchased the

20   vehicle primarily for personal, family, or household use and has used the vehicle for regular

21   everyday activities. Before purchasing her RAV4, Ms. Lee saw Toyota advertisements and

22   marketing materials, including on Toyota’s website, in brochures, and on vehicle Monroney

23   stickers, about the vehicle’s fuel tank capacity, fuel economy, and total driving distance. Based

24   on Toyota’s reported 14.5-gallon fuel tank capacity and estimated mileage of forty miles per

25   gallon, Ms. Lee believed that the Toyota RAV4 could travel over five hundred miles on one full

26   tank of gas. This was the primary reason why Ms. Lee purchased a RAV4, as she drives 100

27   miles every day for work. Since purchasing her RAV4, Ms. Lee has never been able to fill the

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 7 of 30



 1   gas tank to the advertised 14.5-gallon capacity, even when the fuel light indicates that the tank

 2   is not full. At most, the fuel tank will take nine gallons. Anything more than that amount causes

 3   the tank to overflow. After repeated failed attempts to fill the gas tank to capacity, Ms. Lee

 4   visited a local Toyota dealership, but the dealership offered no solution. The defective fuel tank

 5   remains installed on her RAV4, and Toyota has not offered a repair or replacement that

 6   eliminates the problems with the fuel tank system. As a result, Ms. Lee must refuel more

 7   frequently than she would have to if the fuel tank system were defect-free, and the vehicle has

 8   never achieved the total driving distance Toyota represented. At the time of purchase, Ms. Lee

 9   was unaware of the defective nature of the RAV4’s fuel tank system. Had Toyota disclosed the

10   defect, Ms. Lee would not have purchased a RAV4 or would have paid substantially less for it.

11          11.     Plaintiff Cristin Trosien is a citizen and resident of Michigan. She purchased a

12   new 2020 RAV 4 Hybrid on January 30, 2020 from Suburban Toyota in Farmington Hills,

13   Michigan, for approximately $40,000. She purchased the vehicle primarily for personal, family,

14   or household use and has used the vehicle for regular everyday activities. Before purchasing her

15   RAV4, Ms. Trosien saw Toyota standard advertisements and marketing materials, including

16   content on Toyota’s website, in promotional brochures, and on vehicle Monroney stickers, about

17   the vehicle’s fuel tank capacity, fuel economy, and total driving distance. Based on Toyota’s

18   reported 14.5-gallon fuel tank capacity and estimated mileage of forty miles per gallon, Ms.

19   Trosien believed that the Toyota RAV4 could travel over five hundred miles on one full tank of

20   gas. Since purchasing her RAV4, however, Ms. Trosien has never been able to fill the gas tank

21   to the advertised 14.5 gallon capacity, even when the fuel light indicates that the tank is not full.

22   At most, the fuel tank will take about nine to ten gallons. Anything more than that amount causes

23   the tank to overflow. Ms. Trosien has experienced repeated failed attempts to fill the gas tank to

24   capacity. The defective fuel tank remains installed on her RAV4, and Toyota has not offered a

25   repair or replacement that eliminates the problems with the fuel tank system. As a result, Ms.

26   Trosien must refuel more frequently than she would have to if the fuel tank system were defect-

27   free, and the vehicle has never achieved the total driving distance Toyota represented. At the

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 8 of 30



 1   time of purchase, Ms. Trosien was unaware of the defective nature of the RAV4’s fuel tank

 2   system. Had Toyota disclosed the defect, Ms. Trosien would not have purchased a RAV4 or

 3   would have paid substantially less for it.

 4          12.     Plaintiff Michele Williams is a citizen and resident of Florida. She purchased a

 5   new 2019 RAV4 Hybrid on October 10, 2019 from Miracle Toyota in Haines City, Florida, for

 6   $37,890. Ms. Williams purchased the RAV4 primarily for personal, family, or household use

 7   and has used the vehicle for regular everyday activities. Before purchasing her RAV4, Ms.

 8   Williams say Toyota standard advertisements and marketing materials, including content on

 9   Toyota’s website, in promotional brochures, and on vehicle Monroney stickers, about the

10   RAV4’s fuel tank capacity, fuel economy, and total driving distance. Based on Toyota’s reported

11   14.5-gallon capacity and estimated mileage of forty miles per gallon, Ms. Williams believed that

12   the Toyota RAV4 could travel over five hundred miles on one full tank of gas. Since purchasing

13   the RAV4, however, Ms. Williams has never been able to fill the gas tank to the advertised 14.5-

14   gallon capacity, even when the fuel light indicates that the tank is not full. At most, the tank will

15   take nine to ten gallons. Anything more than that amount causes the tank to overflow. After

16   repeated failed attempts to fill the gas tank to capacity, Ms. Williams visited a local Toyota

17   dealership, but the dealership offered no solution. The defective fuel tank remains installed on

18   Ms. Williams’ RAV4, and Toyota has not offered a repair or replacement that eliminates the

19   problems with the fuel tank system. As a result, Ms. Williams must refuel more frequently then

20   she would have to if the fuel tank system were defect-free, and her RAV4 has never achieved

21   the mileage range Toyota represented. At the time of purchase, Ms. Williams was unaware of

22   the defective nature of the RAV4’s fuel tank system. Had Toyota disclosed the defect, Ms.

23   Williams would not have purchased a RAV4 or would have paid substantially less for it.

24          B.      Defendants

25          13.     Defendants Toyota Motor Sales, U.S.A., Inc. and Toyota Motor North America,

26   Inc. are Texas corporations and maintain their principal place of business in that state. At all

27   times relevant herein, Defendants engaged in the business of designing, manufacturing,

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                                         CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 9 of 30



 1   marketing, warranting, distributing, selling, and leasing automobiles, including the Class

 2   Vehicles, in California and throughout the United States.

 3                                   JURISDICTION AND VENUE

 4           14.    This Court has jurisdiction under the Class Action Fairness Act, 28 U.S.C.

 5   § 1332, because this is a proposed class action in which there are at least 100 Class members,

 6   the combined claims of Class members exceed $5,000,000, exclusive of interest, attorneys’ fees,

 7   and costs, and Plaintiffs and Defendants are domiciled in different states.

 8           15.    This Court has personal jurisdiction over Defendants because they regularly

 9   conduct business throughout California, including within this judicial District, and have

10   sufficient minimum contacts in the state to render the exercise of jurisdiction by this Court

11   proper and necessary.

12           16.    Venue is proper in this District because a substantial part of the events or

13   omissions giving rise to Plaintiffs’ claims occurred here, and Defendants caused harm to Class

14   members residing within this judicial District.

15                                    INTRADISTRICT ASSIGNMENT

16           17.    Pursuant to Civil Local Rule 3-2(d), this action may be assigned to the San

17   Francisco or the Oakland Division, as the events giving rise to the causes of action alleged herein

18   occurred in Alameda County.

19                             COMMON FACTUAL ALLEGATIONS

20   A.      Toyota’s Hybrid Vehicles

21           18.    Toyota launched the RAV4 model in 1995 and introduced the first RAV4 Hybrid

22   in 2016. 1 The RAV4 Hybrid’s gas engine works in combination with an electric motor for

23   increased fuel economy. As described by Toyota:

24           The Hybrid Synergy Drive System utilizes a computer-controlled gasoline
             engine and electric motor to provide the most efficient combination of power for
25           the vehicle. To conserve energy, when the brakes are applied the braking force
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       See https://www.trucks.com/2019/03/08/5-things-to-know-about-toyotas-2019-rav4-hybrid/
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     (last visited Mar. 6, 2020).
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                                         CLASS ACTION COMPLAINT
         Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 10 of 30



 1           generates electricity which is then sent to the traction battery. In addition, the
             engine shuts off when the vehicle is stopped. The benefits are better fuel economy
 2           and reduced vehicle emissions. 2
 3           19.    Hybrids’ fuel efficiency attracts consumers interested in saving in fuel costs or
 4   reducing the environmental impact of fully gas-powered engines.
 5           20.    Toyota has successfully appealed to this group of consumers with a number of
 6   “Alternative Fuel Vehicles,” including 2020 RAV4 Hybrid, which Toyota touts “as the most
 7   powerful yet fuel-efficient RAV4 in the lineup.” 3
 8           21.    Other vehicles in Toyota’s “green” fleet include the Camry Hybrid, Avalon
 9   Hybrid, and Corolla Hybrid, and Prius. 4
10           22.    Toyota identifies environmental responsibility as a priority. It developed the
11   Alternative Fuel Vehicle line to “make the best possible use of our natural resources.” 5 Toyota
12   promises its customers that it “focus[es] on environmentally sustainable solutions in everything
13   [it] do[es] and every vehicle [it] make[s].”6 The company strategically positions its products as
14   “world-changing vehicles” to entice buyers, in California and throughout the country, who wish
15   to be environmentally-conscious or who seek to reduce fuel costs: 7
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24     See https://www.toyota.com/t3Portal/document/om-s/OM20V4QRG/pdf/OM20V4QRG.pdf
     (last visited Mar. 6, 2020).
     3
25     See https://www.toyota.com/alternative-fuel/ (last visited Mar. 6, 2020).
     4
       See id.
26   5
       See https://www.toyota.com/usa/our-story#!/toyota-way (last visited Mar. 6, 2020).
     6
       See https://www.toyota.com/usa/environment/index.html (last visited Mar. 6, 2020).
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       See id.
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                                        CLASS ACTION COMPLAINT
         Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 11 of 30



 1           23.    Some consumers, like Plaintiffs and Class members, are willing to pay more for

 2   a hybrid vehicle that offers better gas mileage and is easier on the environment than its gas-only

 3   counterpart. Toyota capitalizes on this consumer preference in its nation-wide advertising and

 4   marketing campaigns: 8

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 7                                                          Fueling
                                                            Hybrids have a fuel tank just like every
 8
                                                            other vehicle. The only difference is
 9                                                          the number of times you need to visit
                                                            the pump.
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11   B.      The RAV4 Hybrid
12           24.    Of Toyota’s Alternative Fuel Vehicles, the RAV4 is Toyota’s best-seller. 9
13   Toyota has sold hundreds of thousands of 2019 and 2020 RAV4 Hybrids. The base price for this
14   model ranges from $27,850 to $36,880 depending on the style of the vehicle (e.g., LE, XLE,
15   XSE, Limited). 10
16           25.    According to Toyota’s nationally-distributed standard advertising and marketing
17   materials, including its website, informational brochures, and Monroney stickers, each 2019 and
18   2020 RAV4 Hybrid is equipped with a 14.5-gallon fuel tank. 11
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       See https://www.toyota.com/alternative-fuel/ (last visited Mar. 6, 2020).
23   9
       See https://www.thetruthaboutcars.com/2019/12/the-toyota-rav4-hybrid-is-now-by-far-
24   toyotas-best-selling-hybrid-in-america-easily-outselling-the-prius-in-2019/ (last visited Mar. 6,
     2020).
     10
25      See https://www.toyota.com/rav4hybrid/2019/; https://www.toyota.com/rav4hybrid/ (last
     visited Mar. 6, 2020).
26   11
        See https://www.toyota.com/rav4/features/mechanical_performance/4444/4456/4454/F426;
     https://monroneylabels.com/cars/1140109-2019-toyota-rav4-
27
     hybrid?hide_frame=false&ref=https%3A%2F%2Fwww.dallastruckworld.com%2Fused-
28   inventory%2Findex.htm%3Fstart%3D16%26&v=dallastruckworld (last visited Mar. 6, 2020).

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                                        CLASS ACTION COMPLAINT
     Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 12 of 30



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                              CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 13 of 30



 1            26.   The RAV4’s fuel economy is also a focal point of Toyota’s national marketing

 2   and advertising strategy: 12

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12            27.   With an estimated 41 miles per gallon in city driving, 38 miles per gallon on the

13   highway, and 40 miles per gallon overall, Toyota represents that its RAV4 can travel 580 miles

14   on one “full” tank of gas (or 100 miles for every 2.5 gallons as stated under the estimated mpg

15   numbers pictured below). This is a key selling point for Toyota, and a primary reason why

16   Plaintiffs and Class members purchase the RAV4.

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        See https://www.toyota.com/content/ebrochure/2019/rav4_ebrochure.pdf (last visited Mar.
28   6, 2020).

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                                       CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 14 of 30



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 2            28.   Knowing that fuel economy is a primary reason why a consumer may purchase

 3   a hybrid vehicle, Toyota not only emphasizes the fuel economy and mileage range of its vehicles

 4   in its marketing and advertising campaigns, but also in the design of the vehicle itself. Each

 5   Class Vehicle’s interior Multi-Informational Display shows drivers various metrics for gauging

 6   performance and maximizing fuel efficiency, including “Distance to Empty” and “Total

 7   Average Fuel Economy.” 13

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12            29.   Toyota also offers RAV4 drivers “ECO drive mode.” The RAV4’s Quick

13   Reference Guide instructs owners to use this function “to help achieve low fuel consumption

14   during trips that involve frequent accelerating.” 14

15   C.       The 2019 Fuel Tank Redesign

16            30.   In 2019, Toyota undertook a complete redesign of the RAV4 Hybrid, including

17   the fuel tank. 15 Toyota eliminated the “Native America papoose shape” fuel tank installed in

18   earlier RAV4 models, pictured below: 16

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22   13
        See https://www.toyota.com/t3Portal/document/om-s/OM0R025U/pdf/OM0R025U.pdf (last
     visited Mar. 6, 2020).
23   14
        See https://www.toyota.com/t3Portal/document/om-s/OM20V4QRG/pdf/OM20V4QRG.pdf
24   (last visited Mar. 6, 2020)
     15
        See https://www.trucks.com/2019/03/08/5-things-to-know-about-toyotas-2019-rav4-hybrid/;
25   https://www.autoblog.com/2019/12/23/2019-toyota-rav4-hybrid-fuel-gas-tank-shape-
     problem/(last visited Mar. 6, 2020).
26   16
        See https://toyotaparts.bochtoyotasouth.com/oem-parts/toyota-fuel-tank-
     7700142280?origin=pla&gclid=EAIaIQobChMInZrOqa6G6AIVDMpkCh0gBQ6MEAQYAi
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     ABEgJdZfD_BwE (last visited Mar. 6, 2020).
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                                         CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 15 of 30



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              31.    Instead, the 2019 and 2020 RAV4 Hybrid feature a new “latitudinal, saddle-
 6
     shaped design,” which appears to have been designed, unlike its predecessor, to fit over some
 7
     other vehicle component. 17
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13            32.    This saddle-shaped design, however, cannot be safely filled with 14.5 gallons—
14   the number Toyota advertises as the capacity of the fuel tank. Consumers can only fill the tank
15   with nine to eleven gallons before the tank overflows, even when the fuel light indicates that
16   the tank is not full.
17   D.       Consumer Reports of RAV4 Fuel Tank System Issues
18            33.    Since Toyota’s redesign of the RAV4 fuel tank, consumers located across the
19   country have filed complaints with the National Highway Traffic Safety Administration
20   (“NHTSA”), reporting similar stories of being unable to safely fill the gas tanks on their
21   vehicles. 18
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        See https://parts.longotoyota.com/oem-parts/toyota-fuel-tank-
26   770010r100?origin=pla&gclid=EAIaIQobChMIiYvsmqaC6AIVjeNkCh1DxAoLEAQYASAB
     EgKpI_D_BwE (last visited Mar. 6, 2020).
27   18
        See https://www.nhtsa.gov/vehicle/2019/TOYOTA/RAV4%252520HYBRID#complaints
28   (last visited Mar. 6, 2020).

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                                        CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 16 of 30



 1            34.   One consumer from Kentucky complained: 19

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 7            35.   A RAV4 owner from Livermore, California reported: 20

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12            36.   A Toyota customer from Illinois had the same experience: 21

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16            37.   Complaints available on consumer online forums are similar. One person
17   reported: 22
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20            38.   Another consumer shared: 23
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     19
25      See id.
     20
        See id.
26   21
        See id.
     22
        See https://www.toyotanation.com/threads/cant-seem-get-a-full-tank-of-gas.1654530/ (last
27
     visited Mar. 6, 2020).
     23
28      See id.

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                                       CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 17 of 30



 1            39.    As these consumer complaints illustrate, Toyota has not delivered a RAV4

 2   Hybrid with the 14.5-gallon fuel tank it advertised, and the vehicle cannot travel the 580-mile

 3   driving distance its drivers reasonably expected based on the representations Toyota made.

 4   E.       Toyota’s Knowledge of the Defect

 5            40.    Whether from industry standard pre-release testing, post-release feedback from

 6   consumers and dealerships, warranty data, or complaint analysis, Toyota knew or should have

 7   known that the saddle-shaped fuel tank system installed on its 2019 and 2020 RAV4 Hybrids is

 8   defective.

 9            41.    In fact, in November 2019, Toyota published a “Tech Tip,” referring to what the

10   company termed a “Fuel Gauge Concern.” 24 Toyota acknowledged that “[s]ome 2019 model

11   year RAV4 H[ybrid] customers may be experiencing some concern related to fuel gauge[s]

12   reading less than full.” 25 Consistent with the customer complaints reported online and to the

13   NHTSA, the Tech Tip alerted vehicle technicians that “The meter may display somewhere

14   around 3/4 to 7/8 full at the time of gas station auto stop.” 26 Toyota recommended “no repairs”

15   at the time, stating that the “[c]oncern is under investigation,” and instructing technicians to

16   “contact TAS for further assistance.” 27

17            42.    As of December 22, 2019, Toyota is no closer to curing the defect affecting the

18   Plaintiffs and Class members who have collectively purchased hundreds of thousands of these

19   vehicles. Toyota is simply telling customers they “should refuel before or when the low fuel

20   light illuminates, to prevent running out of fuel.” 28

21            43.    Toyota has, however, admitted that the fuel tank system is flawed. In a trade

22   publication, Toyota is quoted as having confirmed that it is “investigating a fuel tank shape issue

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     24
24      See https://static.nhtsa.gov/odi/tsbs/2019/MC-10169408-9999.pdf (last visited Mar. 6,
     2020).
     25
25      See id.
     26
        See id.
26   27
        See id.
     28
        See https://www.autoblog.com/2019/12/23/2019-toyota-rav4-hybrid-fuel-gas-tank-shape-
27
     problem/ (last visited Mar. 6, 2020).
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                                         CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 18 of 30



 1   on certain RAV4 Hybrid vehicles . . . [that] may prevent a full refill by up to several gallons

 2   [and . . .] may impact the vehicle’s total available driving distance.” 29

 3             44.    As the consumer complaints quoted above show, the fuel tank system defect is a

 4   safety and environmental hazard. Despite the potential for the unreasonable harm that may be

 5   caused by the defect, Toyota continues to conceal material facts about it, even though it has

 6   superior knowledge of the problem. Its sustained misrepresentations and omissions continue to

 7   induce consumers to purchase vehicles that Toyota knows are not in the condition or equipped

 8   with the features that are advertised. As a result, relying on Toyota’s partial representations,

 9   consumers continue to purchase vehicles that they would not have, or would have paid less for,

10   had Toyota disclosed the fuel tank system defect.

11                                      CLASS ACTION ALLEGATIONS

12             45.    Plaintiffs bring this class action on behalf of themselves and other similarly

13   situated individuals. Pursuant to Rules 23(a), (b)(1), (b)(2) and (b)(3) of the Federal Rules of

14   Civil Procedure, Plaintiffs seek to certify a class (the “Nationwide Class”) of:

15             All persons and entities in the United States who purchased (other than for resale) or
               leased a model year 2019 through 2020 Toyota RAV4 Hybrid.
16
     In the alternative, Plaintiffs seek certification of the following California Class:
17

18             California Class: All persons and entities in the state of California who purchased (other
               than for resale) or leased a model year 2019 through 2020 Toyota RAV4 Hybrid.
19
               46.    Excluded from the Class are Defendants, any entity in which any Defendant has
20
     a controlling interest, and its legal representatives, officers, directors, employees, assigns and
21
     successors. Also excluded from the Class is any judge, justice or judicial officer presiding over
22
     this matter and the members of their immediate families and judicial staff.
23
               47.    Numerosity. Toyota sold at least hundreds of thousands of 2019 and 2020 RAV4
24
     Hybrid vehicles. Members of the Class are located throughout the United States and are so
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     29
28        See id.

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                                          CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 19 of 30



 1   numerous that joinder is practicable. The precise number of Class members can be determined

 2   through discovery, including discovery of Defendants’ business records.

 3          48.     Common Questions of Law and Fact Predominate. There are questions of law

 4   and fact common to Plaintiffs and Class members, and those questions predominate over any

 5   questions that may affect any individual Class member. Such common questions of law and fact

 6   include, but are not limited to:

 7          a.      Whether the Toyota RAV4 Hybrid was defective at the time of sale;

 8          b.      Whether the defective fuel tank system substantially impairs the value of the

 9   RAV4 Hybrid;

10          c.      Whether Toyota knew about the defect, but continued to advertise, market, and

11   sell the RAV4 Hybrid to consumers without disclosing the defective nature of the vehicle’s fuel

12   tank system to consumers;

13          d.      Whether a reasonable consumer would consider the defective nature of the fuel

14   tank system and the consequences of the defect important to the decision to purchase a RAV4

15   Hybrid;

16          e.      Whether Toyota breached implied warranties associated with the RAV4 Hybrid;

17          f.      Whether Toyota’s affirmative representations and omissions regarding the fuel

18   tank system installed on its RAV4 Hybrid vehicles (and their defects) were likely to deceive a

19   reasonable consumer;

20          g.      Whether Toyota’s conduct violated California’s Unfair Competition Law, Cal.

21   Bus. & Prof. Code § 17200, et seq.;

22          h.      Whether Plaintiffs and members of the Class overpaid for their RAV4 Hybrid

23   vehicles;

24          i.      Whether Plaintiffs and Class members are entitled to equitable relief, including

25   restitution and injunctive relief; and

26          j.      Whether Plaintiffs and Class members are entitled to damages or other monetary

27   relief, and if so, in what amount.

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                                          CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 20 of 30



 1            49.   Typicality. Plaintiffs’ claims are typical of the claims of all members of the Class.

 2   Their claims arise from the same practices and conduct that give rise to the claims of all Class

 3   members and are based on the same legal theories. Plaintiffs, like all Class members, purchased

 4   Toyota RAV4 vehicles that contain a defective fuel tank system. Plaintiffs and the members of

 5   the Class would not have purchased, or would have paid substantially less for, their RAV4

 6   vehicles had they known of the defect or the fact that Toyota would not adequately respond

 7   when the defect manifested.

 8            50.   Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class.

 9   They have no interests antagonistic to those of the other Class members and are committed to

10   vigorously prosecuting this case. Plaintiffs have retained counsel experienced in consumer class

11   actions and complex litigation involving defective automobiles.

12            51.   Superiority. A class action is superior to other available methods for the fair and

13   efficient adjudication of this controversy. Given that the relative amount of each Class member’s

14   is small relative to the expense of litigating those claims, and given Defendants’ financial

15   resources, no Class member is likely to seek legal redress on an individual basis for the violations

16   alleged in this complaint. Individual actions would significantly increase the expense to all

17   parties, burden the court with duplicative litigation, and create a risk of inconsistent or varying

18   adjudications that would establish incompatible standards of conduct for Defendants. Separate

19   actions by individual Class members would also risk adjudications that would, as a practical

20   matter, be dispositive of the interests of the other members not parties to the individual

21   adjudications or would substantially impair or impede their ability to protect their interests. A

22   class action, however, promotes an orderly and expeditious adjudication of the Class claims,

23   presents fewer management difficulties, and ensures comprehensive supervision in a single

24   forum.

25            52.   Defendants acted and refused to act on grounds generally applicable to the Class,

26   thereby making appropriate final injunctive relief with respect to the members of the Class as a

27   whole.

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 21 of 30



 1          53.     All members of the Class are ascertainable by reference to objective criteria.

 2   Defendants have, or have access to, address information for Class members which may be used

 3   for the purpose of providing notice of the pendency of this class action.

 4                                       CAUSES OF ACTION

 5                                      COUNT I
               VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT,
 6                          Cal. Civ. Code § 1750, et seq., (“CLRA”)
 7
            54.     Plaintiff Lee brings this claim on behalf of herself and the members of the Class,
 8
     or alternatively, the California Class, under the laws of that state, against Defendants.
 9
            55.     Plaintiffs re-allege and incorporate by reference the allegations contained in the
10
     paragraphs above as if fully set forth herein.
11
            56.     California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750,
12
     et seq., prohibits “unfair methods of competition and unfair or deceptive acts or practices
13
     undertaken by any person in a transaction intended to result or which results in the sale or lease
14
     of goods or services to any consumer.”
15
            57.     Each Defendant is a “person” as defined by Cal. Civ. Code § 1761(c).
16
            58.     Plaintiffs and Class members are “consumers” within the meaning of Cal. Civ.
17
     Code § 1761(d).
18
            59.     Defendants provide “goods” or “services” within the meaning of Cal. Civ. Code
19
     §§ 1761(a), 1761(b) and 1770. The sale or lease of the Toyota RAV4 constitutes sale or lease of
20
     such goods or services.
21
            60.     Plaintiffs and Class members engaged in “transactions” under Cal. Civ. Code
22
     § 1761(e), including the purchase and lease of Defendants’ vehicles.
23
            61.     Toyota made misleading representations or omissions concerning the
24
     characteristics of the RAV4, including the vehicle’s fuel tank capacity and total driving distance.
25
            62.     Plaintiffs and Class members were deceived into purchasing or leasing the
26
     vehicle by Toyota’s failure to disclose knowledge of the defect.
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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 22 of 30



 1           63.      The facts, which Defendants misrepresented and concealed as alleged in the

 2   preceding paragraphs, were material to Plaintiffs’ and Class members’ decisions about whether

 3   to purchase the RAV4.

 4           64.      In violation of Cal. Civ. Code § 1770(a)(5), Defendants represented that the

 5   RAV4 had characteristics, uses, and benefits that it does not have.

 6           65.      Additionally, by the conduct described in this complaint, Defendants have

 7   violated Cal. Civ. Code § 1770(a)(7), (9), and (16) by representing that the RAV4 is of a

 8   standard, quality, or grade that it is not; by advertising the RAV4 with intent not to sell the laptop

 9   as advertised; by representing that the vehicle was supplied in accordance with a previous

10   representation when it was not.

11           66.      Defendants had a duty to disclose the omitted facts because it had exclusive

12   knowledge of material facts not known to Plaintiffs and Class members (that the fuel tank system

13   was defective), because they actively concealed material facts, and because they did not provide

14   Plaintiffs and Class members proper notice of the defect, and because they otherwise suppressed

15   true material facts.

16           67.      Plaintiffs and members of the Class have suffered harm as a result of these

17   violations of the CLRA because they have paid money to Defendants that they otherwise would

18   not have paid.

19           68.      Under Cal. Civ. Code § 1780, Plaintiffs and Class members seek appropriate

20   equitable relief, including an order enjoining Defendants from the unlawful practices described

21   herein, as well as recovery of attorneys’ fees and costs of litigation.

22           69.      Pursuant to Cal. Civ. Code § 1782, Plaintiffs mailed Defendants a CLRA demand

23   letter via certified mail. If Defendants fail to provide the relief demanded within the time allowed

24   by law, Plaintiffs will amend their complaint to seek actual and punitive damages for violation

25   of the CLRA.

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                                          CLASS ACTION COMPLAINT
          Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 23 of 30



 1             70.    Attached hereto is the venue declaration required by CLRA, Cal. Civ. Code

 2   § 1780(d). 30

 3                                             COUNT II
                     VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW,
 4                           Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”)
 5
               71.    Plaintiff Lee brings this claim on behalf of herself and the members of the Class,
 6
     or alternatively, the California Class, under the laws of that state, against Defendants.
 7
               72.    Plaintiffs re-allege and incorporate by reference the allegations contained in the
 8
     paragraphs above as if fully set forth herein.
 9
               73.    California Bus. & Prof. Code § 17200, et seq., prohibits acts of unfair
10
     competition, including any “unlawful, unfair or fraudulent business act or practice.”
11
               74.    Defendants have engaged in a pattern and practice of acts of unfair competition
12
     in violation of California’s UCL, including the practices alleged herein.
13
               75.    By violating the Plaintiffs’ and other Class members’ rights, and engaging in the
14
     activity recited above, Defendants have committed and continue to commit and engage in
15
     “unlawful, unfair or fraudulent business acts or practices” as defined in Bus. & Prof. Code
16
     § 17200, et seq.
17
               76.    Cal. Bus. & Prof. Code § 17204 provides that an action for violation of
18
     California’s unfair competition law may be brought by persons who have suffered injury in fact
19
     and have lost money or property as a result of such unfair competition, and Cal. Bus. & Prof.
20
     Code § 17203 provides that a court may grant injunctive and equitable relief to such persons.
21
               77.    The unlawful conduct of Defendants alleged herein, are acts of unfair
22
     competition under Cal. Bus. & Prof. Code § 17200, et seq., for which Defendants are liable and
23
     for which the court should issue equitable and injunctive relief, including restitution, pursuant
24
     to Cal. Bus. & Prof. Code § 17203.
25

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28        A declaration may be used in lieu of an affidavit. Cal. Civ. Code § 2015.5.

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                                          CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 24 of 30



 1          78.     Through their conduct, Defendants have engaged in unfair business practices in

 2   California by employing and utilizing the practices complained of herein. Defendants’ use of

 3   such unfair business practices constitutes unfair competition that has provided and continues to

 4   provide Defendants with an unfair advantage over their competitors.

 5          79.     Defendants’ conduct as alleged herein is unlawful, unfair, and fraudulent.

 6          80.     Defendants’ conduct as alleged herein is “unlawful” in that, among other things,

 7   it violates the California Consumer Legal Remedies Act, the Song-Beverly Warranty Act, and

 8   constitutes fraudulent concealment.

 9          81.     Defendants’ conduct as alleged herein is also “unfair.” Defendants’ policy of

10   misrepresenting that their products are not defective and inducing individuals to buy their

11   products by providing these misrepresentations, constitutes an unfair business act or practice

12   within the meaning of Cal. Bus. & Prof. Code § 17200, et seq., in that the justification for

13   Defendants’ conduct is outweighed by the gravity of the consequences to the general public.

14   There were reasonable available alternatives for Defendants to further their business interests

15   other than misleading the public. Indeed, the burden and expense of disclosing accurate

16   information about the RAV4’s fuel tank system would be minimal while the negative impact on

17   the general public in the aggregate is significant. Such conduct is also contrary to public policy,

18   immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.

19          82.     Further, Defendants’ conduct constitutes “unfair” business acts and practices

20   because Defendants’ practices are “likely to cause substantial injury” to Plaintiffs and members

21   of the general public, which are not “reasonably avoidable” by Plaintiffs and members of the

22   general public and the injury is “not outweighed” by the practice’s benefits to Plaintiffs and

23   members of the general public. Such conduct is ongoing and continues to this date.

24          83.     Plaintiffs and members of the general public relied upon Defendants’ unfair

25   business acts and practices—the material representations, omissions, and non-disclosures—to

26   their detriment.

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 25 of 30



 1          84.     Plaintiffs and members of the general public have suffered injury in fact and have

 2   lost money as a result of Defendants’ unfair business acts and practices.

 3          85.     Defendants’ scheme, as alleged herein, is also “fraudulent,” in that it is

 4   knowingly calculated and likely to mislead.

 5          86.     As more fully described above, Defendants knowingly and intentionally

 6   concealed from Plaintiffs and Class members that the Toyota RAV4 has a defective fuel tank

 7   system that reduces a vehicle’s total driving distance.

 8          87.     Defendants knew, recklessly disregarded, or should have known that their

 9   representations, omissions, and non-disclosures were false, misleading, untrue, deceptive, or

10   likely to deceive or mislead the public.

11          88.     Plaintiffs and members of the Class relied upon Defendants’ material

12   representations, omissions, and non-disclosures to their detriment.

13          89.     Plaintiffs and members of the Class have suffered injury in fact and have lost

14   money as a result of Defendants’ fraudulent business acts and practices. This injury was directly

15   and substantially caused by Defendants’ intentional acts, as alleged above.

16          90.     Defendants have continued to take steps to perpetuate these deceitful practices

17   against Plaintiffs, Class members, and the general public. Unless enjoined, Defendants will

18   continue to harm Plaintiffs, Class members, and the general public.

19          91.     As a result of Defendants’ unfair business practices, Defendants have reaped

20   unfair benefits and illegal profits at the expense of the Plaintiffs and Class members. Defendants

21   should be made to disgorge its ill-gotten gains and restore such monies to Plaintiffs and Class

22   members. Defendants’ unfair business practices furthermore entitle Plaintiffs and Class

23   members herein to obtain preliminary and permanent injunctive relief, including, but not limited

24   to, orders that Defendants cease its complained-of practices and account for, disgorge, and

25   restore to Plaintiffs and Class members the compensation unlawfully obtained from them.

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                                        CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 26 of 30



 1                                        COUNT III
                     BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY,
 2                         VIOLATION OF THE SONG-BEVERLY ACT,
                                  Cal. Civ. Code § 1790, et seq.
 3

 4          92.     Plaintiff Lee brings this claim on behalf of herself and the members of the Class,

 5   or alternatively, the California Class, under the laws of that state, against Defendants.

 6          93.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

 7   paragraphs above as if fully set forth herein.

 8          94.     Plaintiff Lee purchased a Toyota RAV4 equipped with a defective fuel tank

 9   system. At the time of purchase, Defendants were in the business of manufacturing and selling

10   these goods.

11          95.     By placing their vehicles in the stream of commerce, Defendants impliedly

12   warranted their vehicles were reasonably fit for their intended use.

13          96.     Defendants’ vehicles are not merchantable. The vehicles are unfit for the ordinary

14   purposes for which such goods are used and were not of the same quality of those generally

15   acceptable in the trade. In breach of the implied warranty of merchantability, the RAV4’s fuel

16   tank cannot hold the advertised amount of fuel—14.5 gallons, severely reducing the total

17   distance a driver is able to travel, well below the 580-mile driving range Toyota that represents.

18          97.     Defendants’ vehicles were not reasonably fit for their intended use when

19   Defendants put the RAV4 on the market.

20          98.     The defects in the vehicles were not open or obvious to consumers.

21          99.     Any purported limitation of the duration and scope of the implied warranty of

22   merchantability given by Defendants is unreasonable, unconscionable and void, because

23   Defendants knew or recklessly disregarded the defect in the fuel tank system, which could not

24   be discovered, if at all, until the vehicles were used for a period of time longer than the period

25   of any written warranty, and Defendants willfully withheld information about the defects from

26   purchasers of the vehicles.

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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 27 of 30



 1          100.    Moreover, due to the unequal bargaining power between the parties, Plaintiffs

 2   and Class members had no meaningful alternative to accepting Defendants’ attempted pro forma

 3   limitation of the duration of any warranties.

 4          101.    As a direct and proximate result, Plaintiffs and Class members have been

 5   damaged in that, inter alia, they would not have purchased or would have paid substantially less

 6   for Defendants’ vehicles.

 7          102.    Defendants’ breach of the implied warranty was a substantial factor in causing

 8   Plaintiffs’ and Class members’ harm.

 9                                           COUNT IV
                                      FRAUDULENT CONCEALMENT
10
            103.    Plaintiffs bring this claim against Defendants on behalf of themselves and the
11
     members of the Nationwide Class under the common law of fraudulent concealment. In the
12
     alternative, Plaintiffs bring this claim against Defendants under the laws of the state where
13
     Plaintiffs and Class members purchased the Class Vehicles.
14
            104.    Plaintiffs re-allege and incorporate by reference the allegations contained in the
15
     paragraphs above as if fully set forth herein.
16
            105.    Defendants intentionally concealed that the Toyota RAV4 is defective and
17
     further affirmatively misrepresented to Plaintiffs and Class members in advertising and other
18
     forms of communication, including standard and uniform material provided with each car and
19
     on its website, that the Class Vehicles they were selling had no significant defects, that the fuel
20
     tank had a capacity of 14.5 gallons, and that RAV4 drivers could travel 580 miles on a single
21
     “full” tank. Defendants knew about the defect in the fuel tank system when making such
22
     representations.
23
                                            PRAYER FOR RELIEF
24
            WHEREFORE, Plaintiffs, and each Class member, pray for judgment against
25
     Defendants as follows:
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                                         CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 28 of 30



 1           A.      That this action and the proposed class be certified and maintained as a class

 2   action, appointing Plaintiffs as representatives of the Class, and appointing the attorneys and law

 3   firms representing Plaintiffs as counsel for the Class;

 4           B.      For actual damages, restitution, and all other appropriate legal and equitable and

 5   injunctive relief;

 6           C.      For declaratory relief;

 7           D.      For pre-judgment and post-judgment interest;

 8           E.      For civil penalties, as requested herein;

 9           F.      For punitive and exemplary damages, as requested herein;

10           G.      For attorneys’ fees and costs as permitted by law;

11           H.      For appropriate injunctive relief; and

12           I.      For such other and further relief as this Court may deem just and proper.

13                                       DEMAND FOR JURY TRIAL

14           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury on

15   all causes of action so triable.

16

17    Dated: March 6, 2020                           BLEICHMAR FONTI & AULD LLP

18                                                   By:      /s/ Lesley E. Weaver
19                                                   Lesley E. Weaver (SBN 191305)
                                                     Angelica M. Ornelas (SBN 285929)
20                                                   Joshua S. Samra (SBN 313050)
                                                     555 12th Street, Suite 1600
21
                                                     Oakland, CA 94607
22                                                   Telephone: (415) 445-4003
                                                     Facsimile: (415) 445-4020
23                                                   lweaver@bfalaw.com
                                                     aornelas@bfalaw.com
24                                                   jsamra@bfalaw.com
25
                                                     KEHOE LAW FIRM, P.C.
26                                                   Michael K. Yarnoff (pro hac vice forthcoming)
                                                     Two Penn Center Plaza
27                                                   1500 JFK Boulevard, Suite 1020
                                                     Philadelphia, PA 19102
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                                                      27
                                         CLASS ACTION COMPLAINT
     Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 29 of 30



 1                                     Telephone: (215) 792-6676
                                       Facsimile: (212) 804-7700
 2                                     myarnoff@kehoelawfirm.com
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                              CLASS ACTION COMPLAINT
       Case 3:20-cv-01663-EMC Document 1 Filed 03/06/20 Page 30 of 30



 1

 2                DECLARATION OF LESLEY E. WEAVER FOR CLRA COUNT

 3           I, Lesley E. Weaver, declare and state as follows:

 4           1.      I am over the age of 18 years and counsel for Plaintiffs in this action. I submit

 5   this declaration as required by California Civil Code § 1780(d).

 6           2.      Venue is proper in this judicial District because Defendants are doing business

 7   in the counties comprising the Northern District of California. Further, a substantial portion of

 8   the transaction at issue took place in Alameda County. Specifically, Plaintiff Lee purchased her

 9   vehicle in Alameda County, which lies within this judicial District.

10           I declare under penalty of perjury under the laws of the United States that the foregoing

11   is true and correct.

12           Executed this 6th day of March, 2020 in San Francisco, California.

13

14

15                                                        /s/ Lesley E. Weaver
                                                          Lesley E. Weaver
16

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                                        CLASS ACTION COMPLAINT
